 Case 18-11619        Doc 100   Filed 07/05/19 Entered 07/05/19 14:34:11              Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS

In re: JEAN-CHARLES, Marie L.                                Chapter 13
       SSN xxx xx 0443                                       Case No. 18-11619-MSH


           MOTION OF CHAPTER 13 TRUSTEE FOR ORDER DISMISSING CASE
                  NOTICE OF BAR DATE OBJECTIONS/RESPONSES

    Now comes the Chapter 13 Trustee (the "Trustee") and respectfully moves the Court for an
Order dismissing this case. In support thereof, the Trustee states as follows:

     1. On May 1, 2018, the above-captioned debtor (the "Debtor") filed a petition for relief
        under Chapter 13 of the United States Bankruptcy Code.

     2. On June 5, 2018, the Trustee convened and presided at a meeting of creditors. On June
        11, 2018, the Debtor filed the amended Plan. The Plan is not feasible.

     3. The Plan fails to provide for the secured mortgage arrears claim of Ditech Financial in
        the sum of $60,654.63.

     4. The Trustee asserts that the Debtors’ failure to file a confirmable Plan constitute
        unreasonable delay that is prejudicial to creditors and are grounds for dismissal pursuant
        to 11 U.S.C sec. 1307(c).

       WHEREFORE, the Trustee respectfully requests that this Court enter an Order
dismissing this case.

Respectfully Submitted,
By: /s/ Carolyn A. Bankowski
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Dated: July 31, 2018




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